  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 1 of 13 PageID #:1



                IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HASBBIN SUGHAYYER,                                            )
                                                              )
                Plaintiff,                                    )
                                                              )
        v.                                                    )
                                                              )
CITY OF CHICAGO, a municipal                                  )
corporation, and OFC. RUDOLPH GARZA and                       )
OFC. SEAN CAMPBELL,                                           )
                                                              )
                Defendants.                                   )

                                       COMPLAINT

        Plaintiff, HASBBIN SUGHAYYER, by and through her attorney, MARK

PARTS of PARTS & SPENCER, LTD., for her Complaint against Defendant CITY OF

CHICAGO, a municipal corporation, and individual Defendants OFC. RUDOLPH

GARZA and OFC. SEAN CAMPBELL, alleges as follows:

                                      THE PARTIES

        1.      HASBBIN SUGHAYYER is a resident of Burbank, Illinois.

        2.      Defendant CITY OF CHICAGO is a legal entity incorporated under the

laws of the State of Illinois.

        3.      Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN

CAMPBELL are City of Chicago Police officers, who, at all times pertinent hereto,

acted in their capacity as officers and employees of Defendant CITY OF CHICAGO=s

Police Department and acted under color of law.

                                 JURISDICTION and VENUE

        4.      This Court has subject matter jurisdiction over Plaintiff’s federal claims

pursuant to 28 U.S.C. ' 1331 and 1343(a). This Court has jurisdiction over Plaintiff’s


                                              1
  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 2 of 13 PageID #:2



state claims pursuant to 28 U.S.C. ' 1367, and '1441. This Court has personal

jurisdiction over Defendants as they are residents of Illinois and all actions complained of

herein occurred in Illinois.

       5.      Venue is proper in this District because all the conduct complained of

herein occurred in this District.

               SPECIFIC ALLEGATIONS COMMON TO ALL COUNTS

       6.      On July 20, 2008, Plaintiff HASBBIN SUGHAYYER was driving

eastbound on 63rd Street in Chicago, IL.

       7.      At that place and time, Defendant OFC. RUDOLPH GARZA and

Defendant OFC. SEAN CAMPBELL signaled to Plaintiff HASBBIN SUGHAYYER to

stop her vehicle and pull over. Plaintiff HASBBIN SUGHAYYER complied and pulled

over and stopped her vehicle.

       8.      Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN

CAMPBELL confronted Plaintiff HASBBIN SUGHAYYER and proceeded to make

sexually and ethnically offensive remarks to Plaintiff HASBBIN SUGHAYYER.

       9.      Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN

CAMPBELL verbally harassed Plaintiff HASBBIN SUGHAYYER about the way she

was dressed and joked about her working in a strip club. During the course of the

encounter, Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN

CAMPBELL made reference to the Middle Eastern heritage and Muslim religion of

Plaintiff HASBBIN SUGHAYYER, suggesting that she was a terrorist. Defendant OFC.

RUDOLPH GARZA also displayed a military tattoo to Plaintiff HASBBIN




                                             2
  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 3 of 13 PageID #:3



SUGHAYYER, talked about his history in the military, and spoke of the military killing

her people.

       10.     Defendant OFC. RUDOLPH GARZA physically abused Plaintiff

HASBBIN SUGHAYYER. The physical abuse of Plaintiff HASBBIN SUGHAYYER

included but was not limited to Defendant OFC. RUDOLPH GARZA handcuffing her

too tight, resulting in injury to her wrists; pulling her forcibly by the handcuffs, causing

her to trip and fall and sustain ankle and knee injuries; and pressing his body against hers

as she was handcuffed in the back seat of the squad car, causing bruising to her abdomen.



       11.     At the time that Defendant OFC. RUDOLPH GARZA engaged in the

physical abuse upon Plaintiff HASBBIN SUGHAYYER, there was no justification for

said abuse.

       12.     Plaintiff HASBBIN SUGHAYYER was arrested by Defendant OFC.

RUDOLPH GARZA and Defendant OFC. SEAN CAMPBELL and was taken to the City

of Chicago Police Station and was there detained under demeaning and dehumanizing

conditions. Plaintiff HASBBIN SUGHAYYER was thereafter transferred to another

Chicago Police Department holding facility and from there to the Cook County

Correctional Center, where she continued to experience demeaning and dehumanizing

conditions.

       13.     Plaintiff HASBBIN SUGHAYYER was falsely charged with failure to

signal and possession of a controlled substance. Defendant OFC. RUDOLPH GARZA

and Defendant OFC. SEAN CAMPBELL knew that the charges were improper and that

there was no basis to detain or charge Plaintiff HASBBIN SUGHAYYER.



                                              3
  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 4 of 13 PageID #:4



        14.      In the course of her detention, Plaintiff HASBBIN SUGHAYYER had

jewelry and money taken from her, which was not returned to her upon her release from

detention.

        15.      On August 12, 2008, the charge against Plaintiff HASBBIN

SUGHAYYER of possession of a controlled substance was dismissed on a finding of no

probable cause and the charge of failure to signal was dismissed on a motion by the State

to nolle pros.

        16.      As a direct and proximate result of the misconduct of Defendant OFC.

RUDOLPH GARZA and Defendant OFC. SEAN CAMPBELL, Plaintiff HASBBIN

SUGHAYYER suffered the loss of liberty and was caused to suffer and continues to

suffer physical and mental pain and anguish.

        17.      The acts, conduct, and behavior of Defendant OFC. RUDOLPH GARZA

and Defendant OFC. SEAN CAMPBELL were performed knowingly, intentionally, and

maliciously, or with reckless and/or knowing disregard for the Plaintiff=s rights, by reason

of which Plaintiff is entitled to an award of punitive damages.

                                             COUNT I

       (42. U.S.C. ' 1983 Monell Claim Against Defendant CITY OF CHICAGO)

        18.      Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs as if set forth in full herein.

        19.      The actions of Defendant OFC. RUDOLPH GARZA as alleged above

constitute excessive force in violation of the Fourth and Fourteenth Amendments and

were done pursuant to one or more policies, practices and/or customs of Defendant CITY

OF CHICAGO. The actions of Defendant OFC. RUDOLPH GARZA and Defendant



                                                4
  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 5 of 13 PageID #:5



OFC. SEAN CAMPBELL as alleged above constitute deprivation of equal protection of

the law in violation of the Fourteenth Amendment and were done pursuant to one or more

policies, practices and/or customs of Defendant CITY OF CHICAGO. The actions of

Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN CAMPBELL as

alleged above constitute a false arrest in violation of the Fourth and Fourteenth

Amendments and were done pursuant to one or more policies, practices and/or customs

of Defendant CITY OF CHICAGO.

       20.     As a matter of both policy and practice, the Chicago Police Department

directly encourages, and is thereby the moving force behind, the very type of misconduct

at issue here by failing to adequately train, supervise and control its officers, such that its

failure to do so manifests deliberate indifference.

       21.     As a matter of both policy and practice, the Chicago Police Department

facilitates the very type of misconduct at issue here by failing to adequately investigate,

punish and discipline prior instances of similar misconduct, thereby leading Chicago

Police Officers to believe their actions will never be scrutinized and, in that way, directly

encouraging future abuses such as those affecting Plaintiff.

       22.     Generally, as a matter of widespread practice so prevalent as to comprise

municipal policy, officers of the Chicago Police Department use excessive force on

citizens, falsely arrest citizens and deprive citizens of equal protection of the law, yet the

Chicago Police Department makes findings of wrongdoing in a disproportionately small

number of cases.




                                               5
  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 6 of 13 PageID #:6



        23.     Defendant CITY OF CHICAGO does not properly investigate police use

of excessive force, false arrests and deprivation of equal protection of the law or properly

discipline officers for those acts.

        24.     Defendant CITY OF CHICAGO deliberately fails to adequately keep hard

copies and electronic computer records of misconduct to prevent patterns of misconduct

from being established. These actions deliberately further the concealment of police

misconduct.

        25.     When citizens complain to the Chicago Police Department that they have

been subjected to violations of their rights by Chicago Police Officers, the Department=s

policy and practice is to affirmatively discourage those persons from pursuing criminal

charges against the offending police officers; the Department=s training in that regard is

equally deficient. This policy and practice and lack of adequate training encourage

Chicago Police Officers, such as the Defendants in this case, to violate the rights of

citizens without fear of legal consequences.

        26.     Municipal policymakers are aware of, and condone and facilitate by their

inaction, a Acode of silence@ in the Chicago Police Department, by which officers fail to

report misconduct committed by other officers, such as the misconduct at issue in this

case.

        27.     The aforementioned policies, practices, and customs of failing to

supervise, control and discipline officers, as well as the code of silence which is

permitted to exist, are the proximate causes of Constitutional and other legal violations,

and plaintiff’s injuries.




                                               6
  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 7 of 13 PageID #:7



        28.     Defendant CITY OF CHICAGO and its relevant policymakers have failed

to act to remedy the patterns of abuse describe in the preceding paragraphs, despite actual

knowledge of the same, thereby tacitly approving and ratifying the type of misconduct

alleged here.

        29.     The policy, practice, and custom of the police code of silence results in

police officers refusing to report instances of police misconduct of which they are aware,

despite their obligation under police department regulations to do so. This conduct

includes police officers who remain silent or give false or misleading information during

official investigations in order to protect themselves or fellow officers from internal

discipline or retaliation, civil liability, or criminal prosecution.

        30.     The aforementioned policies, practices and customs individually and

together have been maintained and implemented with deliberate indifference by the

CITY OF CHICAGO and have encouraged the individual defendants to commit the

aforesaid wrongful acts against Plaintiff, and therefore acted as a direct and proximate

cause of constitutional and other legal violations, and plaintiff’s injuries.

        WHEREFORE, Plaintiff requests that judgment be entered in favor of Plaintiff

and against the Defendant CITY OF CHICAGO with Plaintiff being awarded

compensatory damages, reasonable attorney fees and costs, and such further relief as this

Court deems just.

                                          COUNT II

                         (42 U.S.C. ' 1983, Excessive Force Claim)

        31.     Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs 1-17, as if set forth in full herein.



                                                7
  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 8 of 13 PageID #:8



        32.     As described above, Defendant OFC. RUDOLPH GARZA used and

caused to be used unjustified force against Plaintiff HASBBIN SUGHAYYER.

        33.     The above-described conduct by Defendant OFC. RUDOLPH GARZA

against Plaintiff was without cause or justification and violated Plaintiff=s rights pursuant

to the Fourth and Fourteenth Amendments to the United States Constitution,

        WHEREFORE, Plaintiff requests that judgment be entered in favor of her and

against Defendant OFC. RUDOLPH GARZA, awarding compensatory and punitive

damages, reasonable attorney fees and costs, and such further relief as this Court deems

just.

                                         COUNT III

                            (42 U.S.C. § 1983, Equal Protection)

        34.     Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs 1-17, as if set forth in full herein.

        35.     As described above, Defendant OFC. RUDOLPH GARZA and Defendant

OFC. SEAN CAMPBELL violated the right of Plaintiff HASBBIN SUGHAYYER to

equal protection under the laws and to be free from discrimination on account of sex,

religion and ethnicity.

        36.     The above-described conduct by Defendant OFC. RUDOLPH GARZA

and Defendant OFC. SEAN CAMPBELL violated Plaintiff’s rights pursuant to the

Fourteenth Amendment to the United States Constitution,

        WHEREFORE, Plaintiff requests that judgment be entered in favor of her and

against Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN CAMPBELL,




                                               8
  Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 9 of 13 PageID #:9



awarding compensatory and punitive damages, reasonable attorney fees and costs, and

such further relief as this Court deems just.

                                         COUNT IV

                           (42 U.S.C. ' 1983, False Arrest Claim)

        37.     Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs 1-17, as if set forth in full herein.

        38.     The actions of Defendant OFC. RUDOLPH GARZA and Defendant OFC.

SEAN CAMPBELL caused the false arrest and lodging of false criminal charges against

Plaintiff, in violation of rights guaranteed under the Fourth and Fourteenth Amendments.

        WHEREFORE, Plaintiff requests that judgment be entered in favor of her and

against Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN CAMPBELL,

awarding compensatory and punitive damages, reasonable attorneys fees and costs, and

such further relief as this Court deems just.

                                          COUNT V

                                           (Battery)

        39.     Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs 1-17, as if set forth in full herein.

        40.     The above-described harmful, unjustified and offensive contact by

Defendant OFC. RUDOLPH GARZA constituted battery under the common law of

Illinois.

        WHEREFORE, Plaintiff requests that judgment be entered in favor of her and

against Defendant OFC. RUDOLPH GARZA, awarding compensatory and punitive

damages, costs, and such further relief as this Court deems just.



                                                9
Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 10 of 13 PageID #:10



                                         COUNT VI

                        (Intentional Infliction of Emotional Distress)

        41.     Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs 1-17, as if set forth in full herein.

        42.     The conduct described above of Defendant OFC. RUDOLPH GARZA and

Defendant OFC. SEAN CAMPBELL was intentional and done with disregard for the

safety and rights of Plaintiff HASBBIN SUGHAYYER. Said actions by the individual

defendants were extreme, outrageous and caused and continue to cause Plaintiff to suffer

pain and emotional distress.

        WHEREFORE, Plaintiff requests that judgment be entered in favor of her and

against Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN CAMPBELL,

awarding compensatory and punitive damages, costs, and such further relief as this Court

deems just.

                                         COUNT VII

                                   (Malicious Prosecution)

        43.     Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs 1-17, as if set forth in full herein.

        44.     The above conduct of Defendant OFC. RUDOLPH GARZA and

Defendant OFC. SEAN CAMPBELL caused the institution of judicial proceedings

against plaintiff HASBBIN SUGHAYYER which have been terminated in her favor.

Said conduct of Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN

CAMPBELL was without probable cause and with malice and resulted in significant

suffering by plaintiff HASBBIN SUGHAYYER.



                                              10
Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 11 of 13 PageID #:11



        WHEREFORE, Plaintiff requests that judgment be entered in favor of her and

against Defendant OFC. RUDOLPH GARZA and Defendant OFC. SEAN CAMPBELL

awarding compensatory and punitive damages, costs, and such further relief as this Court

deems just.

                                          COUNT VIII

                                    (Respondeat Superior)

        45.     Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs as if set forth in full herein.

        46.     In committing the acts alleged in the preceding Counts, Defendant OFC.

RUDOLPH GARZA and Defendant OFC. SEAN CAMPBELL, and any other

responsible officers of the Chicago Police Department, were members of, and agents of,

the Chicago Police Department acting at all relevant times within the scope of their

employment.

        47.     Additionally, the officer or officers responsible for the disappearance of

Plaintiff’s jewelry and money were also members of, and agents of, the Chicago Police

Department acting at all relevant times within the scope of their employment.

        48.     Defendant CITY OF CHICAGO is liable as principal for all torts

committed by its agents.

        WHEREFORE, Plaintiff requests that judgment be entered in favor of her and

against Defendant CITY OF CHICAGO awarding compensatory damages on the state

law claims of battery, intentional infliction of emotional distress and malicious

prosecution, and for conversion of Plaintiff’s property, and that this Court grant such

further relief as the Court deems just.



                                             11
Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 12 of 13 PageID #:12



                                             COUNT IX

                                 (State Law Indemnification)

        49.     Plaintiff realleges and incorporates herein by reference the foregoing

paragraphs as if set forth in full herein.

        50.     Illinois law, 735 ILCS 10/9-102, provides that public entities are directed

to pay any tort judgment for compensatory damages for which employees are liable

within the scope of their employment activities. Defendant OFC. RUDOLPH GARZA

and Defendant OFC. SEAN CAMPBELL were employees of Defendant CITY OF

CHICAGO who acted within the scope of their employment in committing the

misconduct described herein.

        51.     Moreover, Plaintiff is a third-party beneficiary of a contract between

Defendant CITY OF CHICAGO and the union(s) representing OFC. RUDOLPH

GARZA and Defendant OFC. SEAN CAMPBELL, in which contract Defendant CITY

OF CHICAGO has obligated itself to pay for all judgments for compensatory damages,

attorneys= fees and costs against Defendants OFC. RUDOLPH GARZA and Defendant

OFC. SEAN CAMPBELL.

        WHEREFORE, Plaintiff requests that judgment be entered in favor of her and

against Defendant CITY OF CHICAGO for the amounts of any compensatory damages,

attorneys and fees and costs awarded against Defendant OFC. RUDOLPH GARZA and

Defendant OFC. SEAN CAMPBELL.




                                                12
Case: 1:09-cv-04350 Document #: 1 Filed: 07/20/09 Page 13 of 13 PageID #:13



                                  JURY DEMAND

     Plaintiff demands trial by jury on all Counts that may be tried to a jury.


                                                   Respectfully submitted,



                                                   _/s Mark Parts_________
                                                   Mark Parts
                                                   Parts & Spencer, Ltd.
                                                   33 North LaSalle Street
                                                   Suite 1925
                                                   Chicago, IL 60602
                                                   312-920-0990
                                                   mparts@pslegal.net
                                                   Illinois Atty. No.: 6203617




                                          13
